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                      EXHIBIT G

                    Itemized Expenses
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       Glenn Agre Bergman & Fuentes LLP                                                                                        INVOICE
       1185 Avenue of the Americas                                                                                           Number      102356
       22nd Floor
       New York, NY, NY 10036                                                                                                Issue Date 1/5/2024
       USA
                                                                                                                             Due Date   1/5/2024
       www.glennagre.com
       O: 212-970-1600


       Bill To:
       00363 - Official Committee of Unsecured Creditors of AmeriFirst
       Financial, Inc.



       00363011 - Litigation
       Expenses

        Expenses                                                                                Price                  Qty                  Sub

        Online research                                                                      $290.72               1.00                  $290.72
        11/30/2023
        Westlaw Research Charges (November)

        Online research                                                                      $449.94               1.00                  $449.94
        11/30/2023
        LexisNexis Research Charges (November)

                                                                                    Expenses Total:                2.00                  $740.66




                                                                                     Total for 00363011 - Litigation                    $740.66




                                                                                                      Total (USD)                       $740.66

                                                                                                               Paid                       $0.00

                                                                                                         Balance                        $740.66




Invoice #102356                                                                                                                             Page 1 of 2
                               Case 23-11240-TMH                  Doc 612-8           Filed 01/09/24     Page 3 of 3
       Checks can be mailed to the address above and made payable to: Glenn Agre Bergman & Fuentes LLP

       Or funds can be wired as follows:
       Bank Name: Citibank, N.A.
       Bank ABA: 021000089
       SWIFT: CITIUS33
       Account Name: Glenn Agre Bergman & Fuentes LLP
       Account Number: 6868753522

       Email Remittance Address: Finance@glennagre.com




Invoice #102356                                                                                                        Page 2 of 2
